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                      CA SE N O .9:17-CV-80495-M AR RA/M A TTH EW M AN

 CON SUM ER FINAN CIAL
 PR OTECTION BUR EA U
                          plafntifr,
                                                                       FILED BY                D.C.

                                                                            Mlq !2 2218
 O CW EN FINAN CIA L CORPOR ATIO N                                          ANGELA E.NOBLE
  OCWENMORTGAGESERVICING,lV .,and                                          CLERK U S DISI CX
                                                                           s.o.oFF'uà.-w.RB.
  OCW EN LO AN SERV ICIN G,LLC,

                          D efendants.

  O R DER G M N TIN G IN PA RT A N D D EN YIN G IN PA RT PLA IN TIFF'S M O TIO N T O
  CO M PEL DEFENDANTS TO UNREDACT CERTAIN REM EDIATION REPO RTS IDE
                                     227.DE 2321

         TH IS C AU SE isbefore the Courtupon Plaintiff,Consum erFinancialProtection Bureau's

  M otion to CompelDefendantsto UrlredactCertainRemediation Repol'ts(DE 22711.Thismatter
  w as referred to the undersigned by U nited States D istrictJudge K elm eth A .M arra upon an O rder

  refening a11 discovery m atters to the undersigned for appropriate disposition. See D E 29.

  D efendants,Ocwen FinancialCorporation, Ocw en M ortgage Servicing, Inc.,and Ocw en Loan

  Servicing,LLC havetiledaResponsetotheM otion (DE 2462j,andPlaintiffhasfiledaReply(DE
  2523j.Thepartiestiled aJointNotice (DE 2704onM arch 1,2019,asrequiredbytheCourt.The
  Courtheld a hearing on the M otion on M arch 6,2019.




  lThe unredacted,sealed version ofthisM otion isdocketed atDE 232.
  2The unredacted,sealed version ofthisResponse isdocketed atDE 248.
  3The unredacted,sealed version ofthisReply isdocketed atDE 254.

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          1.      The Parties'Positions as Stated in their Papers

          Plaintiff'sM otion arisesfrom the production oftwo reports by D efendants.These reports

  were created by Defendants'Remediation W orking Group (tdRW G''),a group,within Ocwen,
  m anaged by Defendants' internal legal counsel to review and provide legal advice regarding

 proposed rem ediation plans in response to potential servicing issues identitied by D efendants'

  businessunits,legalactions,regulatoryexams,ormonitortesting.gDE 248,pg.21.Thereportsat
  issue contain rem ediation plansw hich are presented to Ocw en'sCEO in Pow erpointfonnatby the

  RW G.(DE 248,pg.31. AccordingtoDefendants,thepurposeofthesepresentationsistoprovide
  D efendants'executivesthe opportunity to ask questionsand engage in discussion with the RW G

  aboutthe RW G 'S legalanalysis of the proposed rem ediation,orin otherw ords,forthe R W G to

  provide Ocw en's CEO w ith legaladvice.1d.

          D efendantsproduced tw o ofthese reports to Plaintiff,specifically,the August2017 RW G

  ReportandtheNovember2017RW G Repol/.AccordingtoPlaintiff,thereports1)identifyerrors
  madebyDefendants;2)statewhatremediationDefendantprovidedtoborrowersimpactedbythe
  errors;and3)contain proposalsforfutureremediation.(DE 232,pg.31.Thepartiesagreethatthe
  reports contain inform ation that is protected pursuant to the Attorney/client Privilege, and

  therefore several isblocks'' of text in the reports containing privileged inform ation have been

  redacted. How ever,the parties disagree on how m uch inform ation should be redacted. W hile

  Plaintiff concedes that proposals for future rem ediation are attom ey advice, privileged, and

  properly redacted,Plaintiff argues that the factual inform ation undem inning the past servicing

  4 Defendants first inadvertently produced unredacted versions ofthe two reports.Because the reports contained a
  privileged designation,Plaintiffinform ed Defendantsthatthereportshad been produced and Defendantsclawed back
  thedocum entspursuantto the ProtectiveOrderin thiscase.Defendantsthen produced the redacted versionsofthe
  reports.(DE232,pg.31.
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 errorsm ade by D efendants,ûsincluding how m any borrow ers w ere harm ed and w hatrem ediation

 Defendantsprovided to them ,''is dtseparate and apartfrom any legalguidance soughtoroffered in

 thedocument.''(DE 232,pg.41.Therefore,Plaintiffassertsthattheinformationisnotprivileged
 and asksthe Courtto orderthatspecifc inform ation in the reportsbe unredacted.

         Plaintiffadditionally asksthe Courtto com pelD efendantsto produce any versionsofthese

 rem ediation reportsnotalready produced,including any factual,non-privileged infonnation about

 thescopeofservicingerrorsandremediation efforts.(DE 232,pg.21.Atthehearing,theparties
 represented to the CourtthatRW G reports were issued m onthly beginning in Aprilof 2016,

 m eaning thatthere are betw een 24 and 36 RW G reports.See also D E 248,pg.2.

         ln opposition, Defendants assert that the reports are actually the textual and visual

 com ponentsofPow erpointpresentationswhich are presented to the CEO ofOcwen by a group of

  Defendant's internallegalcounsel.A ccording to D efendants,the purpose ofthe presentationsisto

  advise the CEO on w hether to pursue certain rem ediation efforts based on differentand distinct

  issues arising throughout the com pany. Defendants argue that although it is true that the

  presentation containsfactsthatare provided by Defendants'internalbusinessunits,those facts

  w ere com piled and curated by the attonzeys in the R W G ,reform ulated for the presentation,and

  usedtoevaluatepotentialavenuesforremediation.(DE 248,pg.4J.In supportofthis,Defendants
  point out that they included unaltered inform ation directly from the business units thatw as not

  redacted in the reports.See,e.g.,DE 232-1,pgs.18,20,22.D efendants also argue thatPlaintiff s

  arguments are not compelling because the factualinform ation thatPlaintiff is seeking is also

  available in the volum inous am otm t of discovery that has already been produced in this case.

  Finally,Defendantsask theCourtto denyPlaintiffsrequestthatD efendantsproducea11additional
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 RW G reports,becausesuch production would beirrelevant,duplicative,and unduly burdensome.

 gDE 270,pg.9j.
         11.    In Cam era R eview

         At the M arch 6,2019 hearing,the Courtrequired D efendants to subm it the unredacted

 N ovem ber 2017 Reports for in cam era review , to determ ine if the inform ation that had been

 redacted in the redacted version of the report w as indeed protected by the A ttorney/client

 privilege.The Courthascarefully conducted an in cam era review of the R W G N ovem ber 2017

 Repol'tand the RW G August2017 Reportto determine whetherthe information is protected

 plzrsuanttotheAttorney/clientprivilegeand whetheritwasproperly redacted by Defendants.

         111.   A nalvsis

         $dA claim ofprivilegein federalcourtisresolved by federalcom mon law,unlesstheaction

  is a civilproceeding and the privilege is invoked tw ith respectto an elem entofa claim ordefense

  astowhichStatelaw suppliestheruleofdecision....'''Hancockv.Hobbs,967F.2d462,466(11th
  Cir.1992)(quotingFed.R.Evid.501).(t-
                                     f'
                                      heattorney-clientprivilegeexiststoprotectconfidential
  com m unications betw een clientand law yerm ade forthe pum ose ofsecuring legaladvice.''In re

 Slaughter, 694 F.2d 1258, 1260 (11th Cir. 1982). But the privilege does not cover all
  communications between an attorney and herclient (or putative client).Rather,ithasbeen
  çcconstrued narrowly so as not to exceed the m eans necessary to support the policy which it

  promotes.''In re Grand Jzfry M atter No. 91-01386, 969 F.2d 995,997 (11th Cir. 1992)
  (citingFisher v.United States,425U.S.391,403,96 S.Ct.1569,48 L.Ed.2d 39 (1976)).The



  sTheunredactedversionoftheAugust2017RWG wasattachedtoPlaintiff'sSealedMotionasExhibit2(DE232-21.
                                                 4
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 privilege isdesigned only to protectliconfidentialcom m unicationsbetw een the attorney and client

 regarding the m atterofrepresentation.''ln re Grandlury M atter,969 F.2d at997.

        The specitic elementsoftheattorney-clientprivilegearethefollowing:(1)wherelegal
 adviceofanykind issought'
                         ,(2)from aprofessionallegaladvisorinhiscapacityassuch;(3)the
 communicationsrelatingto thatpurpose;(4)madein confidence;(5)bytheclient;(6)areathis
  instancepermanentlyprotected'
                              ,(7)from disclosurebyhimselforbythelegaladvisor;(8)except
 the protection m ay be w aived.fatele Television, C.A .v. Telem undo Com m c'
                                                                             ns Grp.,LLC,N o.

  12-22539-C1V,2014W L 4449451,at*3-4(S.D.Fla.Sept.10,2014)(citing UniversalC//yDev.
  Partners,Ltd v.RidedrShow Engk,Inc.,230F.R.D.688,690 (M .D.Fla.2005)).lfanyoneof
  these elem ents is missing ifthe com munication is not confidential,if it is notbetween the

  attorney and client (or prospective client), or        it does not relate to the m atter of

  representation- the com m unication at issue is not covered by the privilege.See D evries

  MorganStanley d:Co.LLC,No.12-81223-ClV,2013 W L 3243370,at*3 (S.D.Fla.June 26,
  2013).kk-
          f'
           heburdenofproofisonthepartyassertingtheprivilegeto show thatthedocumentsin
  question are privileged.''United States v. Sigm an, N o. 11-#0155-CR, 2013 W L 5890714, at

  *4(S.D.Fla.Nov.4,2013).
         W hen advice given by an attolmey relates to both business and legalm atters,the legal

  advice m ustpredom inate in order forthe attorney-clientprivilege to apply.Blake v.Batm asian,

  No. 15-CV-81222, 2017 W L 10059251, at *4-5 (S.D. Fla. Oct.                  2017),report and
  recommendation adopted,No.15-81222-C1V,2018 W L 3829803 (S.D.Fla.Aug.9,2018)
  (citingCarpenter v.Mohawklndus.,Inc.,No.4:07-CV-0049-HLM ,2007 W L 5971741,at*9
  (N.D.Ga.Oct.l,2007).Additionally,the burden ison Defendants to show thattheprimary

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 purposeofthecommunicationinquestionwastbrthepurposeofobtaininglegaladvice.Preferred
 CarePartnersHolding Corp.v.Humana,lnc.,258F.R.D.684,689(S.D.Fla.2009).
         The Courthas received the unredacted reports and has carefully conducted an in camera

 review of the redacted portions of the reports. The Court has also carefully considered the

 argum ents presented by both parties atthe M arch 6,2019 hearing,and the parties'positions as

  stated intheMotion (DE 2321,Response (DE 2481,Reply (DE 2541,and theJointNotice EDE
 2701.TheCourtfindsthat,afterconsideringthetotalityofthecircumstances,theredactedportions
  ofthe A ugust and N ovem ber 2017 R eports contain inform ation thatis protected pursuantto the

  Attorney/client privilege. The Reports, which are actually Pow erpoint slides printed

  chronologically, are m ore easily understood as Powerpoint presentations given by a group of

  attorneys in the RW G to executives at O cw en.Considering the inform ation presented in that

  specific context, the Courtfinds that D efendants have shown that the prim ary purpose of the

  com m unication in question,thatis,the RW G Pow erpointPresentation,isforOcwen executivesto

  obtain legaladviceregardingremediation effortstllrough an interactive medium .

         A lthough itis true thatsom e factualinform ation w as redacted throughoutthe Reports,the

  Courtfindsthatthespecificfactualinformation wascurated and reformulated by attorneysin the

  R W G to presentOcw en Defendantsw ith legaladviceregarding rem ediation.The Courtnotesthat

  D efendants have properly leftthe slides containing raw ,unaltered inform ation,copied directly

  from the businessunits,un-redacted throughoutthe Presentation.See,e.g.,D E 232-1,pgs.18,20,

  22. Further, although the Plaintiff s need for the infonnation is not an explicit factor to be

  considered when conducting an A ttorney/clientprivilegeanalysis,the Couz'talso ispersuaded that

  the factual inform ation sought by Plaintiff is alm ost certainly available w ithin the voltuninous


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 am ountsofdiscovery which hasalready been produced in this case.

         The Coul't finds that Defendants have properly redacted Attom ey/client privileged

 inform ation contained in the RW G A ugust2017 R eportand theR W G N ovem ber2017 Report,and

 therefore w illnotrequire D efendants to provide unredacted versions of the Reports.Plaintiff is

 O R DERE D to forthw ith destroy any versions of the unredacted R eports that it has in its

 possession.The Courtis,how ever,persuaded thatthe redacted versions of the m onthly R W G

 reports are both relevantand proportionalto the issues in thiscase,asthey contain descriptions of

 issuesidentitied by Defendantsthatrequired remediation efforts.Therefore,the Courtwillgrant

 Plaintiff's request for an order com pelling Defendants to produce the final versions of each

 m onth'sRW G Report,with the appropriate redactions.Defendants are ORDERED to produce,

 w ith the appropriate redactions,the finalversions ofallR W G Reportsproduced sincethe creation

 ofthe RW G in A ugustof20166.

          ltis hereby O R D ER ED A N D A DJU D G ED :

          l. Plaintiff's M otion to Com pel D efendants to U nredact Certain Rem ediation Reports

              (DE 2321isDENIED IN PART.The Courttindsthatthe Reports'redactionsare
              properin this case as they protectA ttorney/clientprivileged inform ation.D efendants

              shallnotberequired toproduceunredacted versionsoftheAugustandN ovember2017

              Reportsand PlaintiffisORDERED todestroy anyunredactedreportsin itspossession

              forthw ith.

              Plaintiff's M otion to Com pel Defendants to U nredact Certain Rem ediation Reports


  6The Court is aw are that Plaintiff did not form ally request aI1 remediation reports dating back to A ugust 2016.
  However,in orderto expedite the discovery process,and based on the statem ents of the parties atthe mostrecent
  discovery hearing,the Courtorderssuch production.

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           gDE 2321isGRANTED IN PART.DefendantsareORDERED toproduce,withthe
           appropriate redactions,the final versions of all RW G Reports produced since the

           creation ofthe RW G in A ugustof2016.
                                                    Z4
                                                    -

       D O N E and O R DER ED in Cham bersthis /Z da
                                                  - y ofM arch 2019, atW estPalm B each,

 Palm Beach County in the Southern D istrictofFlorida.


                                           W ILLIA M M A T H EW M AN
                                           U N ITED STA TES M A G ISTM TE JU D GE




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